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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )                 8:05CR116
               vs.                             )
                                               )                     ORDER
MARK REX,                                      )
                                               )
                       Defendant.              )


       Defendant Mark Rex (Rex) appeared before the court on April 29, 2005, on an Petition for
Warrant or Summons for Offender Under Supervision (Report) (Filing No. 153).                Rex was
represented by Lawrence G. Whelan and the United States was represented by Assistant U.S.
Attorney Frederick D. Franklin. Through his counsel, Rex waived his right to a probable cause
hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Report alleges
probable cause and that Rex should be held to answer for a final dispositional hearing before Judge
Laurie Smith Camp.
       The government moved for detention. Through counsel, Rex declined to present any
evidence on the issue of detention and otherwise waived a detention hearing. Since it is Rex’s
burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that he is neither a
flight risk nor a danger to the community, the court finds Rex has failed to carry his burden and that
Rex should be detained pending a dispositional hearing before Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 8:30 a.m. on August 16, 2006. Defendant must be present in person.
       2       Defendant Mark Rex is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
       3.      Defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.
       DATED this 1st day of August, 2006.
                                                        BY THE COURT:
                                                        s/Thomas D. Thalken
                                                        United States Magistrate Judge
